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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


 DOUGLAS GILMORE, Executor of the
 Estate of BESS GILMORE,                                    No. 3: 08-cv-1058 (SRU)
         Plaintiff,

         v.

 PAWN KING, INC. and WILLIAM
 MINGIONE,
      Defendants.

                               MEMORANDUM OF DECISION

       On May 14, 2015, I held oral argument on the plaintiff’s motion for summary judgment

(doc. # 128). I issued an oral ruling in open court, granting in part and denying in part the

plaintiff’s motion for summary judgment and granting summary judgment, sua sponte, in favor

of the defendants on certain claims and against them on their counterclaim. For the reasons set

forth on the record, I issued the following orders:

   1. Count One: Summary judgment is granted in favor of the plaintiff on the first Civil RICO
      claim, which alleges a violation of 18 U.S.C. § 1962(c).
   2. Count Two: Summary judgment is granted in favor of the defendant, William Mingione
      on the plaintiff’s second Civil RICO claim, which alleges violations of 18 U.S.C. §
      1962(b).
   3. Count Three: Summary judgment is granted in favor of the plaintiff on the CUTPA
      claim.
   4. Count Four: Summary judgment is granted in favor of the plaintiff on the conversion
      claim. The defendant’s affirmative defenses of equitable estoppel and unclean hands fail
      as a matter of law.
   5. Count Five: Summary judgment is granted in favor of the defendants on the statutory
      theft claim under Conn. Gen. Stat. § 52-564.
   6. Count Six: Summary judgment is granted in favor of the plaintiff on the unjust
      enrichment claim. The defendant’s affirmative defenses of equitable estoppel and
      unclean hands fail as a matter of law.
   7. Count Seven: Summary judgment is granted in favor of the defendant on this count,
      which seeks damages under Conn. Gen. Stat. § 21-47(a).
   8. Count Eight: Summary judgment is granted in favor of the defendants on the intentional
      infliction of emotional distress claim.
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9. Defendants’ Counterclaim: Summary judgment is granted in favor of the plaintiff on the
    defendants’ counterclaim for abuse of process.
10. The parties will confer to discuss damages and will report to the court by May 28, 2015
    whether they were able to resolve the issue of damages or whether a hearing will be
    necessary.

   It is so ordered.

   Dated at Bridgeport, Connecticut, this 15th day of May 2015.




                                                       /s/ STEFAN R. UNDERHILL
                                                       Stefan R. Underhill
                                                       United States District Judge
